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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

COBB THEATRES III, LLC; COBB
THEATRES IV, LLC,                               CIVIL ACTION FILE NO.
                                                1:14-cv-00182-ELR
           Plaintiffs,

v.

AMC ENTERTAINMENT HOLDINGS,
INC.; AMC ENTERTAINMENT INC.;
AMERICAN MULTI-CINEMA, INC.,

           Defendants.

              CERTIFICATE OF SERVICE OF DISCOVERY

     Pursuant to Local Rule 5.4, and the Parties’ express agreement that service

must be made by electronic means, counsel for Plaintiffs hereby certify that on

June 30, 2015, they served Plaintiffs Cobb Theatres III, LLC and Cobb Theatres

IV, LLC’s Initial Disclosures as Supplemented on June 30, 2015 upon counsel for

Defendants by electronic mail to:

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    Respectfully submitted this 1st day of July, 2015.

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                         CERTIFICATE OF SERVICE

      I hereby certify that this day, I electronically filed the foregoing Certificate

of Serving of Discovery with the clerk’s office CM/ECF system, which will send

email notification to the following counsel of record:

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      Respectfully submitted, this 1st day of July, 2015.

                                              s/Julia A. Palmer
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